  Case 1:19-cv-00086-EGB Document 8 Filed 03/22/19 Page 1 of 1




    Tlntbt @nftr! $tstts @ourt of fr[rrul @lsims
                                    No. 19-867
                              (Filed: March 22,2019)

* * * * * * + * * *,1. {t * t * * * *,1.,t't
RUSSELL D. PALMER,

                Plaintiff,



TIIE I-INITED STATES,

                Defendant.

* * * * * *'t,t * * *'i,l * ** * *     r.   **

                                       ORDER

          On January 21, 2019, we denied plaintiff s motion to proceed rn
forma  pauperis   because he is ineligible for waiver of the filing fee due to the
 operation of 28 U.S.C. $ 1915(g) (2012). We thus also ordered plaintiff to
 pay the filing fee by March 1,2019, or be subject to dismissal. Plaintiff has
 not yet paid the filing fee nor sought leave for an extension of time to do so.
 Accordingly, the following is ordered:

        l.    The complaint is hereby dismissed for failure to pay the filing fee.
              The Clerk of Court is directed to dismiss the complaint and enter
             judgment accordingly.

       2.    Defendant's motion for an extension of time to resoond to the
             comolaint is denied as moot.




                                                 ERIC G. BRUGG




                                                           ?Er? rq50 0000 l,lqE      1,q55
